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 6                       IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
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 9   Unknown Party,                                      No. CV-18-01623-PHX-DWL
10                  Plaintiff,                           ORDER
11   v.
12   Arizona Board of Regents, et al.,
13                  Defendants.
14
15          In advance of the motion hearing on September 7, 2022, the Court wishes to provide
16   the parties with its tentative ruling. This is, to be clear, only a tentative ruling. The point
17   of providing it beforehand is to allow the parties to focus their argument on the issues that
18   seem salient to the Court and to maximize their ability to address any perceived errors in
19   the Court’s logic. This is not an invitation to submit additional briefing.
20          Dated this 30th day of August, 2022.
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14                              TENTATIVE RULING
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 1          Pending before the Court are Defendant Arizona Board of Regents’ (“ABOR”)
 2   motions to exclude the opinions and testimony of Curtis Owen (Doc. 158), Dr. Lance
 3   Kaufman (Doc. 159), and Cindi Nannetti (Doc. 161) and Plaintiff John Doe’s motions to
 4   exclude certain opinions and testimony of Peter F. Lake (Doc. 164) and Jason Borrelli and
 5   Dwight Duncan (Doc. 165). Each motion is addressed below.
 6                                                ANALYSIS
 7   I.     Legal Standard
 8          “The party offering expert testimony has the burden of establishing its
 9   admissibility.” Bldg. Indus. Ass’n of Wash. v. Wash. State Bldg. Code Council, 683 F.3d
10   1144, 1154 (9th Cir. 2012). Rule 702 of the Federal Rules of Evidence governs the
11   admissibility of expert testimony. It provides:
12          A witness who is qualified as an expert by knowledge, skill, experience,
            training, or education may testify in the form of an opinion or otherwise if:
13
                   (a) the expert’s scientific, technical, or other specialized knowledge
14                 will help the trier of fact to understand the evidence or to determine a
15                 fact in issue;

16                 (b) the testimony is based on sufficient facts or data;
                   (c) the testimony is the product of reliable principles and methods;
17
                   and
18                 (d) the expert has reliably applied the principles and methods to the
19                 facts of the case.
20          As for the threshold requirement that an expert witness be qualified “by knowledge,
21   skill, experience, training, or education,” “Rule 702 contemplates a broad conception of
22   expert qualifications.” Hangarter v. Provident Life & Acc. Ins. Co., 373 F.3d 998, 1015
23   (9th Cir. 2004) (internal quotation marks and emphasis omitted). Years of relevant
24   experience can establish the necessary “minimal foundation.” Id. at 1015-16. “Disputes
25   as to the strength of [an expert’s] credentials . . . go to the weight, not the admissibility, of
26   his testimony.” Kennedy v. Collagen Corp., 161 F.3d 1226, 1231 (9th Cir. 1998) (first
27   alteration in original) (internal quotation marks omitted).
28          A district court’s decision to admit or exclude expert testimony is guided by a two-


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 1   part test that focuses on the opinion’s relevance and reliability. Daubert v. Merrell Dow
 2   Pharm., Inc., 509 U.S. 579, 589 (1993). “The inquiry envisioned by Rule 702 is . . . a
 3   flexible one.” Id. at 594.    “The focus, of course, must be solely on principles and
 4   methodology, not on the conclusions that they generate.” Id. at 595.
 5          Evidence is relevant if it has “any tendency to make the existence of any fact that is
 6   of consequence to the determination of the action more probable or less probable than it
 7   would be without the evidence.’” Id. at 587 (quoting Fed. R. Evid. 401). “The Rule’s basic
 8   standard of relevance thus is a liberal one.” Id.
 9          The basic standard of reliability is similarly broad. “Shaky but admissible evidence
10   is to be attacked by cross examination, contrary evidence, and attention to the burden of
11   proof, not exclusion.” Primiano v. Cook, 598 F.3d 558, 564 (9th Cir. 2010). “Basically,
12   the judge is supposed to screen the jury from unreliable nonsense opinions, but not exclude
13   opinions merely because they are impeachable.” Alaska Rent-A-Car, Inc. v. Avis Budget
14   Grp., Inc., 738 F.3d 960, 969 (9th Cir. 2013). See also Fed. R. Evid. 702, advisory
15   committee’s note to 2000 amendment (“[P]roponents do not have to demonstrate to the
16   judge by a preponderance of the evidence that the assessments of their experts are correct,
17   they only have to demonstrate by a preponderance of evidence that their opinions are
18   reliable. . . . The evidentiary requirement of reliability is lower than the merits standard of
19   correctness.”) (alteration in original) (internal quotation marks omitted).
20          Nevertheless, courts serve an important “gatekeeper” role when it comes to
21   screening expert testimony. Gen. Elec. Co. v. Joiner, 522 U.S. 136, 142 (1997). “Unlike
22   an ordinary witness, an expert is permitted wide latitude to offer opinions, including those
23   that are not based on firsthand knowledge or observation.” Daubert, 509 U.S. at 592
24   (citation omitted). “Presumably, this relaxation of the usual requirement of firsthand
25   knowledge . . . is premised on an assumption that the expert’s opinion will have a reliable
26   basis in the knowledge and experience of his discipline.” Id. This “general ‘gatekeeping’
27   obligation . . . applies not only to testimony based on ‘scientific’ knowledge, but also to
28   testimony based on ‘technical’ and ‘other specialized’ knowledge.” Kumho Tire Co., Ltd.


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 1   v. Carmichael, 526 U.S. 137, 141 (1999).
 2          The Court has “broad discretion,” both in deciding whether the evidence is reliable
 3   and in deciding how to test for reliability. United States v. Hankey, 203 F.3d 1160, 1168
 4   (9th Cir. 2000). In Daubert, the Supreme Court listed various factors that might apply,
 5   including whether the expert’s technique or theory (1) can be tested; (2) has been peer
 6   reviewed or published; (3) has a known or potential basis for error; and (4) is generally
 7   accepted in the pertinent scientific community. 509 U.S. at 593-94.                  However,
 8   “[t]he Daubert factors were not intended to be exhaustive nor to apply in every case.”
 9   Hankey, 203 F.3d at 1168.        In particular, “[t]he Daubert factors . . . simply are not
10   applicable to [testimony] whose reliability depends heavily on the knowledge and
11   experience of the expert, rather than the methodology or theory behind it.” Id. at 1169. See
12   also Fed. R. Evid. 702, advisory committee’s note to 2000 amendment (“Some types of
13   expert testimony will be more objectively verifiable, and subject to the expectations of
14   falsifiability, peer review, and publication, than others. Some types of expert testimony
15   will not rely on anything like a scientific method, and so will have to be evaluated by
16   reference to other standard principles attendant to the particular area of expertise.”). The
17   bottom line is that “[t]he trial judge in all cases of proffered expert testimony must find that
18   it is properly grounded, well-reasoned, and not speculative before it can be admitted. The
19   expert’s testimony must be grounded in an accepted body of learning or experience in the
20   expert’s field, and the expert must explain how the conclusion is so grounded.” See Fed.
21   R. Evid. 702, advisory committee’s note to 2000 amendment.
22          Finally, “expert testimony is inadmissible if it concerns factual issues within the
23   knowledge and experience of ordinary lay people because it would not assist the trier of
24   fact in analyzing the evidence.” Liberty Life Ins. Co. v. Myers, 2013 WL 524587, *5 (D.
25   Ariz. 2013). See also Aya Healthcare Servs., Inc. v. AMN Healthcare, Inc., 2020 WL
26   2553181, *6 (S.D. Cal. 2020) (“Expert testimony is inadmissible if it addresses lay matters
27   which a jury is capable of understanding and deciding without the expert’s help.”) (internal
28   quotation marks omitted); In re Apollo Grp. Inc. Sec. Litig., 527 F. Supp. 2d 957, 961-62


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 1   (D. Ariz. 2007) (“[E]xpert testimony is inadmissible if it concerns factual issues within the
 2   knowledge and experience of ordinary lay people, because it would not assist the trier of
 3   fact in analyzing the evidence.”). In the Ninth Circuit, “[t]he general test regarding the
 4   admissibility of expert testimony is whether the jury can receive ‘appreciable help’ from
 5   such testimony.” United States v. Gwaltney, 790 F.2d 1378, 1381 (9th Cir. 1986).
 6   II.     Discussion
 7           A.    Curtis Owen
 8                 1.      The Owen Report
 9           Curtis Owen is a wrestling coach at Chandler High School. (Doc. 158-1 at 2.) He
10   has extensive coaching and wrestling experience and was a three-time NCAA qualifier,
11   Pac-10 champion, top 20 amateur wrestler at his weight class, and All-American at Arizona
12   State University, among other accolades. (Id.) Owen “come[s] from a family of successful
13   wrestlers [and] worked closely with [his family] throughout [his] career.” (Id.)
14           Doe asked Owen to testify on the following topics: (1) the qualifications needed to
15   become a high school, college, and Olympic-level wrestling coach; (2) the impact on Doe’s
16   wrestling career of missing his final two years of NCAA eligibility; (3) the training
17   opportunities, if any, that are lost by being unable to train at the Regional Training Center
18   (“RTC”) at ASU; (4) the alternatives to training at the RTC; (5) the impact of injuries on a
19   wrestling career, including the injuries suffered by Doe; and (6) Doe’s skill as a wrestler.
20   (Id.)
21           Owen’s opinions are as follows. First, the more “high level” a coaching position is,
22   the more elite a candidate’s wrestling credentials must be—even “national-level high
23   school programs are almost always staffed by former nationally competitive college
24   wrestlers.” (Id. at 3.) Second, “a college wrestler who misses the final two years of
25   collegiate eligibility at his chosen school would have his opportunities diminished because
26   most athletes are at their peak physically, mentally, and experientially when they are further
27   into their careers.” (Id.) Third, “not being able to train at the [RTC] in Arizona, would
28   make it almost impossible to train properly in Arizona.” (Id. at 4.) Fourth, “the RTC is


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 1   the only option outside of the Olympic Training Center in Colorado.” (Id.) Fifth, “even
 2   though [Doe] suffered some injuries, based on my experience as a wrestler and coach, they
 3   were not something that would keep an athlete from reaching his potential.” (Id.) Sixth,
 4   “Doe had the skill and athleticism to be one of the best wrestlers in the country at the
 5   college level and beyond.” (Id.)
 6          Owen is not being paid for his work on this case, has authored no publications in
 7   the past ten years, has never testified as an expert witness, and did not review documents
 8   to prepare his report. (Id. at 2.)
 9                  2.     Analysis
10          ABOR seeks to exclude Owen from offering any opinions at trial. (Doc. 158.) In
11   general, ABOR raises objections based on Owen’s qualifications, the reliability of Owen’s
12   opinions, and the relevance of Owen’s opinions. ABOR’s more specific objections, and
13   Doe’s responses, are addressed on an opinion-by-opinion basis below.
14                         a.      Coaching Qualifications
15          ABOR asserts that, because Owen has always coached at the high school level or
16   below, he is not qualified to opine on the qualifications needed to become a collegiate,
17   national, or international wrestling coach. (Doc. 158 at 4-5.) ABOR also argues that
18   Owen’s opinions about coaching qualifications are “supported only by anecdotal
19   information” and “[r]eliance on anecdotal observations or unfounded subjective beliefs
20   does not satisfy Rule 702 or Daubert I.” (Id. at 9.) Finally, ABOR asserts that Owen’s
21   opinions about the qualifications needed to coach high school and national or international
22   wrestling are irrelevant because Doe’s qualifications to coach high school are not in dispute
23   and Doe’s deposition testimony establishes that he only sought to be a Division I coach,
24   not a national or international coach. (Id. at 12.)
25          Doe responds that “Owen has substantial experience in wrestling, both as a former
26   collegiate athlete and as a coach of a high-performing team. . . . During Owen’s own
27   coaching tenure, he worked with numerous coaches, and was involved in all aspects of
28   hiring and grooming coaches for future positions, including several coaches who are now


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 1   coaching at elite programs. . . . He does not have to be an NCAA coach to speak to the
 2   requirements of becoming an NCAA coach when the parameters are well established
 3   within the sport.” (Doc. 190 at 4-5.) As for reliability, Doe argues that Owen’s experiences
 4   and education give him the capacity to “carefully consider all relevant information and
 5   evaluate Doe through a prism of curated wrestling knowledge. Using this methodology,
 6   Owen can reliably opine on Doe’s . . . coaching prospects [] and related opportunity costs
 7   as a result of ABOR’s actions.” (Id. at 6.) As for relevance, Doe argues that any
 8   uncontested information will “provide background information to help inform opinions
 9   that are contested,” and “[t]o the extent ABOR deems the opinions are unnecessary, the
10   remedy is to challenge them not exclude them.” (Id. at 7.)
11          ABOR replies that Owen’s “upbringing” and relationships do not qualify him to
12   opine on collegiate hiring. (Doc. 194 at 3.) ABOR further contends that “if his expertise
13   is grounded solely in his personal experience,” Owen does not “explain how his wrestling
14   experience and high-school coaching generally provide a sufficient basis for his opinions
15   on other discrete subjects.” (Id.) Finally, ABOR asserts that the challenged opinions are
16   irrelevant because Doe is not seeking damages that rely on national/international wrestling
17   coach wages and because Doe is already working as a high school coach (so his
18   qualifications for that position are not in dispute). (Id. at 9-10.)
19          Whether Owen is qualified to opine on hiring criteria for NCAA coaches presents a
20   fairly close call. On the one hand, Owen has extensive experience as a decorated collegiate
21   wrestler and high-school wrestling coach. Even though he has never coached above the
22   high school level, he has helped others rise to careers as Division I coaches and discussed
23   the qualifications that benefitted them as they interviewed. Owen also grew up in a family
24   of college wrestling coaches and has discussed professional qualifications with them at
25   length. On the other hand, Owen has never hired collegiate coaches himself, so any
26   understanding of what recruiters are seeking is necessarily second-hand. More important,
27   Owen is imprecise about the scope of his opinion—he might be viewed as (1) opining on
28   “requirements” with “well established parameters” that conclusively prevented Doe from


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 1   seeking work as a collegiate wrestling coach, or (2) opining that such positions “almost
 2   always” go to candidates with substantial accolades and, based on Owen’s experience, Doe
 3   accordingly would not have been hired for those roles.
 4          The Ninth Circuit has emphasized that Rule 702 “is broadly phrased and intended
 5   to embrace more than a narrow definition of qualified expert.” Thomas v. Newton Int’l
 6   Enters., 42 F.3d 1266, 1269 (9th Cir. 1994). The proponent of expert testimony need only
 7   lay a “minimal foundation” of “knowledge, skill, experience, training, or education” in the
 8   topic at hand. Id. Although an expert may not offer opinions on matters “outside the areas
 9   of [the expert’s] expertise,” Avila v. Willits Env’t Remediation Tr., 633 F.3d 828, 839 (9th
10   Cir. 2011), an expert’s “lack of particularized expertise goes to the weight accorded [his
11   or] her testimony, not to the admissibility of [his or] her opinion as an expert.” United
12   States v. Garcia, 7 F.3d 885, 890 (9th Cir. 1993). With that said, “lack of specialization
13   may go to weight only as long as an expert stays within the reasonable confines of his
14   subject area.” Avila, 633 F.3d at 839.
15          Applying these principles, Owen is qualified to offer opinions about a collegiate
16   wrestling coach’s typical qualifications despite his lack of personal experience at the
17   collegiate level. It is not difficult to believe that a coach who has been enmeshed in the
18   wrestling world for 20 years, especially one surrounded by a family of collegiate wrestling
19   coaches, would have a refined understanding of the implicit qualifications to be a wrestling
20   coach at the collegiate level. Cf. Hangarter, 373 F.3d at 1015-16 (no error in district court’s
21   determination that an expert who had “significant knowledge of and experience within”
22   the insurance industry was qualified to opine about the practices and norms of insurance
23   companies in an area in which he lacked specialized knowledge). Owen makes clear
24   throughout his report that conversations and anecdotal experiences amassed during his 20
25   years of coaching support his conclusions and identifies examples of coaching careers that
26   have informed his opinion. (Doc. 158-1 at 6-7.)
27          The qualifications cases on which ABOR relies are distinguishable. They involved
28   putative experts who sought to opine on complex subjects outside their core expertise.


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 1   Here, in contrast, Owen is not inappropriately seizing the mantle of a college coach’s
 2   expertise and stepping outside his own sphere to wield it—Owen asserts that he has
 3   developed his own expertise in how college-coach recruiting works through conversations
 4   and experiences. Thus, comparisons to a police officer who wished to opine on forensic
 5   ballistics without training or experience on the issue (Krause v. Cnty. of Mohave, 459 F.
 6   Supp. 3d 1258 , 1265-67 (D. Ariz. 2020); or an accident reconstruction expert who wished
 7   to opine on vehicle electronic systems despite admitting to no experience in the field
 8   (Manion v. Ameri-Can Freight Sys. Inc., 2019 WL 3858415 (D. Ariz. 2019)); or investors
 9   who wished to opine on a precise fiduciary standard of care without relevant training or
10   experience (In re GFI Com. Mortg. LLP, 2013 WL 4647330, *6 (N.D. Cal. 2013)) fail
11   because they assume Owen does not have relevant experience. He does.
12          Tangential to the qualifications inquiry is the relevance of Owen’s opinions about
13   the necessary qualifications for high school and national/international/Olympic coaches.
14   Doe has the burden to explain why Owen’s opinions are relevant, Bldg. Indus. Ass’n of
15   Wash., 683 F.3d at 1154, but it is somewhat hard to make sense of Doe’s response on this
16   point. It seems to boil down to two arguments: (1) the opinions will emphasize that
17   ABOR’s actions interfered with Doe’s current and future job prospects; and (2) the
18   opinions will help the jury understand the dynamics of a wrestling career at a high level
19   and career prospects for a Division I wrestler. (Doc. 190 at 7.)
20          The Court agrees with ABOR that Owen’s opinions about high school coaching
21   qualifications are irrelevant.   It is difficult to see how Owen’s opinions about the
22   qualifications for a job that Doe already holds will help the jury understand that ABOR’s
23   actions denied Doe the opportunity to work in his chosen field and unduly interfered with
24   his current and future job prospects.
25          The    Court   also    agrees    with   ABOR     that   Owen’s    opinions    about
26   national/international/Olympic coaching qualifications are irrelevant.      Doe does not
27   explain why the jury would benefit from hearing about the qualifications for a job that Doe
28   himself does not seek to perform. Nothing prevents Owen from mentioning that those jobs


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 1   exist to help the jury understand the industry overall, but opining about the qualifications
 2   required to obtain such jobs and implying that ABOR’s interference prevented Doe from
 3   reaching those undisputedly unsought heights could only serve to confuse or
 4   inappropriately inflame the passions of the jury.
 5                          b.   Impact Of Non-Eligibility On Doe’s Wrestling Career
 6          Owen’s opinion is that college wrestlers are at their most productive during their
 7   final two years of college, which made ABOR’s interference with Doe’s wrestling career
 8   especially damaging because it “cost him many achievements and accolades that would
 9   have allowed him to increase his marketability (sponsorships and employment) and earning
10   power down the road, should he choose to make his living as an athlete and then as a coach
11   at the collegiate and/or National level.” (Doc. 158-1 at 3-4.)
12          This opinion is really a synthesis of two opinions: (1) college wrestlers are at their
13   prime in the final two years of NCAA eligibility; and (2) Doe was a skilled wrestler who
14   would have received many accolades in those two years. ABOR apparently does not seek
15   to exclude Owen’s opinion about the usual trajectory of college wrestlers, which is
16   reasonable given that Owen was, himself, a college wrestler and is presumably qualified to
17   opine on that issue.
18          Owen’s other point, which is that Doe would have achieved extraordinary success
19   during his final two years, smuggles in Owen’s sixth noticed opinion, which is that Doe
20   had a great deal of wrestling skill. But as discussed below, Owen’s opinion of Doe’s skill
21   is inadmissible. And armed with Owen’s uncontested opinion that wrestlers mature in their
22   final two years and the assumption that Doe was a talented wrestler, a juror could
23   independently conclude that the impact of NCAA non-eligibility was particularly
24   significant. Because Owen’s second opinion does not provide “appreciable help” to the
25   jurors, it is inadmissible. Gwaltney, 790 F.2d at 1381.
26                          c.   The RTC And Other Training Options
27          As far as the Court can tell, ABOR doesn’t seek to exclude Owen’s third and fourth
28   opinions, which are that being unable to train at the RTC in Arizona would make it difficult


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 1   to train properly and that the only option for Doe other than the RTC was the Olympic
 2   Training Center in Colorado. (Doc. 158-1 at 4.)
 3                         d.      Impact Of Injuries
 4          ABOR asserts that Owen is not qualified to offer opinions about the impact of Doe’s
 5   injuries on his wrestling career. (Doc. 158 at 5.) Although Doe references Owen’s opinion
 6   in his response brief (Doc. 190 at 3) and argues that all of Owen’s opinions are reliable (id.
 7   at 6), he does not respond to ABOR’s point that Owen is unqualified to deliver this
 8   particular opinion.
 9          Because Doe has the burden of explaining why Owen is qualified to deliver an
10   expert opinion, Bldg. Indus. Ass’n of Wash., 683 F.3d at 1154, the Court finds that Doe has
11   forfeited the issue and that Owen may not opine on whether Doe’s injuries impacted his
12   wrestling career. But even if Doe hadn’t forfeited the issue, the Court is skeptical that
13   Owen would be qualified to offer a medical prognosis on Doe’s injuries, especially given
14   how vaguely he describes them in his report. See, e.g., Krause, 459 F. Supp. 3d at 1266
15   (noting that the expert was not a trained medical professional and “obviously” could not
16   testify about the severity of the plaintiff’s injuries).
17                         f.      Doe’s Wrestling Skill
18          ABOR argues that Owen is “not qualified to opine under the mantle of an
19   expert . . . that Doe had the skill and athleticism to be one of the best wrestlers in the
20   country at the college level and beyond” because “Owen’s experience as an assistant high
21   school wrestling coach, even when accompanied by his personal experience as a collegiate
22   wrestler from 1997 to 2003, do not standing alone qualify Mr. Owen to opine on Doe’s
23   potential collegiate and post-collegiate accolades, including whether Doe would have
24   achieved ‘All-American’ status. Mr. Owen offers no data, besides his own unexplained
25   subjective beliefs, to support his opinion.” (Doc. 158 at 6-7.) ABOR also asserts that
26   Owen’s opinion is unreliable because he does not “consider data relating to, inter alia, the
27   weight class at which Doe would have competed, the other ASU wrestlers in that weight
28   class during the relevant years, the wrestlers in that weight class at other Division I schools


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 1   during the relevant years and their skill level, Doe’s past wrestling performance (including
 2   his failure to achieve All-American status in the prior three years), or Doe’s record
 3   competing against the specific wrestlers against whom he would have been matched during
 4   the relevant years. (Id. at 8.)
 5          Doe responds that Owen is qualified to opine on this topic because of his
 6   background as a wrestler and coach. (Doc. 190 at 4-5.) Doe also argues that Owen was
 7   not obligated to review records because Owen has an “established personal relationship
 8   with Doe and coaches and [trains] with Doe at Chandler High School. Owen is intimately
 9   familiar with Doe’s wrestling experience [and] talent . . . [which] would not otherwise be
10   garnered by a simple review of records.” (Id. at 7.)
11          In reply, ABOR reasserts its earlier contentions that Owen is not qualified to opine
12   on Doe’s future potential and that Owen’s opinion is unreliable because he did not consider
13   the contrary information available to him before forming the opinion. (Doc. 194 at 4, 7.)
14          The Court is conscious that “the relevant factors for determining reliability will vary
15   from expertise to expertise,” Fed. R. Evid. 702, advisory committee’s note to 2000
16   amendment, and that evaluating a young athlete’s skill level and career trajectory is a
17   uniquely subjective inquiry. Even so, that an expert exclusively relies on his experience
18   and renders a subjective opinion does not mean that the testimony “should be treated more
19   permissively simply because it is outside the realm of science.” Id.
20          Owen opines that Doe “had the skill and athleticism to be one of the best wrestlers
21   in the country at the college level and beyond” and “would have been an All-American in
22   college if his career was not cut short.” (Doc. 158-1 at 4, 7.) However, Owen’s stated
23   support for these opinions is either conclusory or a bare-bones recitation of Doe’s
24   achievements without context that might appreciably assist the jury.
25          Owen’s observations that “as a high school wrestler, [Doe] was one of the top
26   wrestlers in the country” and that Doe “was an exceedingly better freestyle wrestler than
27   collegiate wrestler” (id. at 3, 7) lack external support and are “nothing more than a series
28   of ipse dixits,” which “nothing in either Daubert or the Federal Rules of Evidence require


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 1   a district court to admit.” Longoria v. Kodiak Concepts LLC, 2021 WL 1100373, *15 (D.
 2   Ariz. 2021). Owen notes that Doe won several athletic competitions (which the Court will
 3   not repeat to protect Doe’s identity). (Id. at 4, 7.) But even if Owen believes those
 4   accolades would support his conclusion that Doe was “one of the top wrestlers in the
 5   country,” Owen makes no effort to explain why. In fact, the Court need not identify the
 6   accolades by name because Owen does not meaningfully distinguish between them—
 7   Owen does not explain that a particular accolade is especially prestigious or that, for
 8   example, all ten of the past winners of a particular trophy have gone on to the Olympic
 9   wrestling team. At most, these awards support the common-sense notion that Doe is
10   probably a good wrestler, at least better than his competitors in those matches, but it does
11   not remotely support the opinion that Doe would have become one of the best wrestlers in
12   the country.
13          This combination of conclusory and common-sense testimony does not denote
14   admissible expertise. To offer something resembling a reliable opinion regarding a young
15   wrestler’s future prospects, an expert might be expected to dive into some sort of
16   supporting data to produce an opinion that lay jurors could not reach on their own—perhaps
17   explaining why a wrestler’s height was especially advantageous, or parsing his match
18   history to project why new competitors would be unlikely to defeat him, and so on. But
19   jurors would intuit that a wrestler who has won trophies is a good wrestler, and allowing
20   Owen to testify that Doe was the best based on a list of undifferentiated accolades runs the
21   risk of inappropriately allowing Owen to cloak his unfounded opinion with the weight of
22   expert testimony.
23          This is true even though Owen, himself, was an excellent wrestler in his day.
24   Imagine a hypothetical case in which a plaintiff wished to establish that, but for injuries
25   caused by the defendant, he would have become a star basketball player in the NBA and
26   earned millions of dollars as a professional athlete. If that plaintiff wished to call Charles
27   Barkley—an 11-time NBA all-star and former league MVP1—as an expert concerning his
28   1
            Michael Jordan would also work for purposes of this hypothetical, but because this
     case arises from the District of Arizona, Charles Barkley seems the better choice.

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 1   future NBA prospects, there is little doubt that Barkley would be qualified to opine on the
 2   topic. Nevertheless, if would not be sufficient, for reliability purposes, for Barkley to
 3   simply assert that he knows a future NBA player when he sees one. Instead, like any other
 4   expert, Barkley would need to provide a comprehensible rationale for his opinion grounded
 5   in reason and logic. See Fed. R. Evid. 702, advisory committee’s note to 2000 amendment
 6   (“The expert’s testimony must be grounded in an accepted body of learning or experience
 7   in the expert’s field, and the expert must explain how the conclusion is so grounded.”).
 8   That rationale is what is missing here.
 9          Because Owen’s opinion that Doe would have been one of the best wrestlers in the
10   nation is conclusory and unreliable, and it is common sense to a reasonable juror that a
11   wrestler who receives awards is a good wrestler, Owen’s opinion regarding Doe’s skill
12   level is inadmissible.
13                        g.      Summary As To Owen
14          For the reasons discussed above, ABOR’s request to categorically exclude Owen
15   from testifying is denied, but Owen must limit his opinions to the following topics: (1) the
16   qualifications needed to become a college wrestling coach; (2) the training opportunities,
17   if any, that are lost by being unable to train at the RTC; and (3) the alternatives to training
18   at the RTC.
19          B.     Dr. Lance Kaufman
20                 1.     The Kaufman Report
21          Dr. Lance Kaufman possesses a Ph.D. in economics, has been recognized as an
22   “expert in the field of economics,” and has “over 15 years of experience performing
23   economic research and modeling.” (Doc. 159-1 at 22.) Dr. Kaufman has provided expert
24   witness testimony on “forecasting, production cost modeling, and labor costs,” and his
25   hourly rates range from $350 to $500 per hour. (Id. at 22.)
26          Dr. Kaufman’s opinions in this case can be divided in two categories: (1) opinions
27   relating to the enforcement of ASU’s student code, or “whether ASU’s sanctions are gender
28   neutral”; and (2) opinions relating to Doe’s alleged economic loss, or “the economic harm


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 1   resulting from [ABOR’s] unlawful expulsion of Doe.” (Id. at 5.)
 2                         a.     Student Code Enforcement Disparity
 3          ASU provided Dr. Kaufman with information about its history of student code
 4   enforcement over alcohol (“F-15”) and sexual misconduct (“F-23”) violations. (Id. at 6.)
 5   Dr. Kaufman states that the information was categorized by: (1) incident ID, (2) gender of
 6   respondent, (3) incident type, (4) date and time of incident, (5) date of report, (6) “SCC
 7   Charge Code,” (7) Dean of Students’ decision, (8) sanctions, (9) whether the decision was
 8   appealed, (10) hearing board’s recommendation, and (11) University Vice President’s
 9   decision. (Id. at 6-7.) For F-23 violations, ASU also noted (1) respondent’s student athlete
10   status, (2) gender of counter party, (3) charge investigator, (4) date of decision, and (5) date
11   of review of decision. (Id. at 7.)
12          At the outset, Dr. Kaufman noted that the “SCC Charge Data provide several
13   different types of sanctions. These sanctions can be grouped and ranked in order of
14   severity. I rank warnings as the mildest sanction, expulsion and suspension as severe
15   sanctions, and all other sanctions as mild sanctions.” (Id.)          Having developed this
16   convention, Kaufman found that of 161 male F-23 respondents, 3 received no sanction, 79
17   received a mild sanction, 27 were suspended, and 52 were expelled. (Id.) Of 10 female F-
18   23 respondents, 1 received no sanction, 9 received a mild sanction, none received a
19   suspension, and none were expelled. (Id.) Dr. Kaufman concluded that “males tend to
20   receive more severe sanctions than females” and described his “statistical analysis of the
21   disparity between male and female Respondents.” (Id.) As a preface, Dr. Kaufman
22   explained:
23          In cases concerning the disparate impact on protected classes, outcomes for
            the protected class are compared to the rates for other individuals to
24
            determine if the difference is statistically significant.
25          A disparity is considered statistically significant if it would occur so rarely
26          in a nondiscriminatory situation that we can rule out that it occurred by
            chance. . . . [T]he courts typically require a demonstration . . . that the
27          disparity is large enough that it would occur by chance less than 5 percent of
28          the time, or in less than one in 20 non-discriminatory events.



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 1           To assess the evidence of gender bias in sanctions, respondents are classified
 2           by two criteria, whether they are a member of the protected class or not, and
             whether they were severely sanctioned or not. . . . If the disparity in sanction
 3           rates between two groups is not sufficiently large, or if the direction of the
             disparity varies substantially across subgroups, the disparity will not be
 4
             statistically significant.
 5
     (Id. at 8.)
 6
             Dr. Kaufman also described the “Chi-Square Analysis,” which posits that, if males
 7
     are a certain proportion of all respondents, a gender-neutral process will lead to a similar
 8
     proportion of males actually being punished, as compared to the overall pool of students
 9
     punished. (Id. at 9.) The chi-square test “gives us a way of determining what proportion
10
     is ‘high enough’ to conclude that sanctions were not gender-neutral.” (Id.) Last, Dr.
11
     Kaufman explained the “Mantel Haenszel Peer-Group Analysis,” which is a method of
12
     peer-group analysis that informs Dr. Kaufman’s use of respondent charges to create peer
13
     groups with the same combination of charges, controlling for the type and number of
14
     violations. (Id. at 9-10.)
15
             Dr. Kaufman performed four analyses. (Id. at 10.) First, he compared the Dean of
16
     Students’ decisions for male and female respondents in cases involving F-15 and F-23
17
     charges and determined that males are found in violation more often than females. (Id.)
18
     Second, he compared sanctions for male and female F-23 respondents and found that males
19
     receive severe sanctions at a higher rate than females. (Id.) Third, he compared the severity
20
     of sanctions for F-15 only charges between males and females and found that males are
21
     given more severe sanctions. (Id. at 10, 12.) Fourth, he compared sanctions of F-23
22
     incidents involving male complainants with incidents involving female complainants and
23
     found that incidents involving male complainants (unlike female complainants) never lead
24
     to severe sanctions. (Id. at 10.)
25
             Dr. Kaufman concluded that (1) male respondents are found in violation of F-15 and
26
     F-23 charges more often than female respondents, which is statistically significant; (2)
27
     male F-23 respondents are sanctioned with expulsion and suspension at a higher rate than
28
     female F-23 respondents, which is statistically significant; and (3) F-23 charges involving

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 1   male complainants result in expulsion and suspension at lower rates than charges involving
 2   female complainants. (Id. at 14.) However, Dr. Kaufman acknowledged that “[w]here
 3   possible my analysis controls for peer-groups by grouping respondents according to charge
 4   or combination of charges” but “even within combination of charges there may be non-
 5   gender factors that affect the severity of sanctions.” (Id.)
 6                        b.      Economic Loss
 7          Assuming that “Defendants’ actions interrupted Doe’s education and competitive
 8   sports career [which] modified Doe’s career trajectory and diminished his lifetime earning
 9   capacity,” Dr. Kaufman estimated “the economic impact by comparing Doe’s economic
10   situation in a hypothetical (‘But-for’) world absent Defendant’s unlawful actions with
11   Doe’s current expected economic situation (‘Actual’). (Id. at 15.) Dr. Kaufman based his
12   calculations on some of Owen’s opinions (i.e., Doe was an elite freestyle wrestler and
13   coaching at an NCAA Division I program requires elite competitive wrestling experience)
14   and on Doe’s testimony that he planned to become a college wrestling coach after his
15   competitive career. (Id. at 15-16.)
16          Based on those assumptions, and accounting for various other sources of income,
17   Dr. Kaufman concluded that Doe’s economic loss could range from $631,490 in a scenario
18   in which Doe became a Division II or III coach to $5,543,579 in a scenario in which Doe
19   became a Division I coach. (Id. at 20.)
20                 2.     The Parties’ Arguments
21                        a.      Student Code Enforcement Disparity
22          ABOR challenges Dr. Kaufman’s statistical analysis on a variety of grounds. (Doc.
23   159 at 3.) First, ABOR asserts that Dr. Kaufman did not consider sanctions imposed on
24   male and female students who engaged in misconduct of “comparable seriousness” and
25   that Dr. Kaufman’s defense that ABOR did not produce necessary information is false. (Id.
26   at 5-8.) Second, ABOR argues that Dr. Kaufman’s analysis does not consider that many
27   respondents charged with F-23 violations were also charged with other code violations.
28   (Id. at 9-10.) Third, ABOR asserts that Dr. Kaufman erred when he concluded that “male


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 1   complainants do not result in severe sanctions” and that readily available data provided by
 2   ABOR would have made that error clear. (Id. at 10.) Finally, ABOR argues that Dr.
 3   Kaufman’s F-15 analysis is irrelevant because “there is no issue in this lawsuit about
 4   whether the sanctions imposed on students facing solely [F-15] violations are harsher for
 5   females than they are for males.” (Id. at 12.)
 6          Doe responds that Dr. Kaufman’s data is reliable because ASU provided it and any
 7   conclusions that can be drawn from that data are subject to cross-examination, not
 8   exclusion. (Doc. 188 at 4-5.) According to Doe, whether respondents are “similarly
 9   situated” does not bear on reliability because ABOR “has not produced any evidence that
10   the respondents reflected in the F-23 spreadsheet are not similarly situated.” (Id. at 6.)
11   Further, Doe argues that whether the respondents are in fact similarly situated is not
12   grounds for exclusion, but a question of fact for the jury. (Id. at 8.) Doe argues that Dr.
13   Kaufman’s opinions about male complainant cases are reliable because Dr. Kaufman relied
14   on information provided by ABOR, and—perhaps in the alternative—that the information
15   is inconsistent and incomplete. (Id. at 10-11.) Doe also argues that Dr. Kaufman’s F-23
16   opinions are relevant because they tend to show that men and women are treated differently
17   in the disciplinary process by ASU. (Id. at 12.) Finally, Doe asserts that Dr. Kaufman’s
18   opinions about F-15 violations are reliable, for similar reasons as his opinions regarding F-
19   23 violations, and relevant, because a juror can infer the presence of gender bias from the
20   fact that men are sanctioned for alcohol violations at a higher rate than women. (Id. at 12-
21   13.)
22          ABOR replies that Doe was required to identify comparators who engaged in
23   conduct of “comparable seriousness.” (Doc. 196 at 1.) ABOR asserts that Dr. Kaufman’s
24   data is not admissible purely because ABOR produced it and that Doe’s characterization
25   of the spreadsheets is false. (Id. at 3-4.) ABOR also argues that Dr. Kaufman cannot use
26   all female respondents as comparators, and that it was Doe’s (not ABOR’s) burden to
27   identify female respondents accused of conduct of comparable seriousness but treated more
28   favorably than Doe. (Id. at 5.) On that note, ABOR reasserts that a jury cannot decide the


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 1   “comparable seriousness” issue, which is reserved for the Court. (Id. at 6.) Finally, ABOR
 2   argues that Dr. Kaufman’s F-15 analysis is irrelevant for the reasons identified in the
 3   motion to exclude. (Id. at 7-9.)
 4                        b.     Economic Loss
 5          First, ABOR argues that Dr. Kaufman’s assumptions about Doe’s career
 6   progression are unfounded and unreliable because there is no evidence to support those
 7   assumptions in the record. (Doc. 159 at 12-14.) Relatedly, ABOR points to Dr. Kaufman’s
 8   assertions that Doe “was a Division One wrestler on his way to earning the title of All-
 9   American at nationals” and that Doe’s career plan was “consistent with the career paths of
10   other college wrestling coaches” and argues that Kaufman is not qualified to opine on those
11   issues. (Id. at 13 n. 5.) Second, ABOR asserts that Dr. Kaufman’s assumptions about
12   projected salary data are inaccurate and inapplicable to the facts in this case. (Id. at 15-
13   17.)
14          Doe responds that “there is no requirement that Doe unequivocally prove that he
15   would have achieved any of these positions before an expert can opine on his lost earnings.
16   . . . The standard for assessing earning capacity is whether the plaintiff had a ‘reasonable
17   probability’ of achieving that career path. . . .    Dr. Kaufman is permitted to make
18   assumptions about Doe’s career path so long as there is a reasonable probability that those
19   paths would have . . . or are likely to occur.” (Doc. 188 at 14-15.) Doe also argues that
20   Dr. Kaufman’s sources for his salary projection are reliable and, to the extent there are
21   factual disputes to be had, those issues are either scrivener’s errors or may be addressed
22   during cross-examination. (Id. at 15-17.)
23          ABOR replies that Doe has mischaracterized its argument: ABOR argues that “Dr.
24   Kaufman has no expertise or foundational facts to support his assumptions as to Doe’s
25   expected career path.” (Doc. 196 at 9.) ABOR also objects to Dr. Kaufman’s use of
26   median, rather than entry-level, salary figures and contends that the inflated salary
27   information caused Dr. Kaufman’s opinion to be irrelevant. (Id. at 10-11.)
28          …


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 1                 3.     Analysis
 2                        a.     Student Code Enforcement Disparity
 3                               i.      Males Receive More Severe F-23 Sanctions
 4          In Tables 2 and 3 of his Report, Dr. Kaufman found a “highly significant” disparity
 5   in the frequency and severity of F-23 sanctions: “male Respondents are found ‘guilty’ of
 6   F-23 and F-15 charges at a higher rate than other Respondents,” which is “highly
 7   significant,” and “Fifty percent of Males [charged with violating F-23] are sanctioned with
 8   . . . severe sanctions” but “[n]o females with F-23 [violations] were sanctioned with severe
 9   sanctions. This disparity is highly statistically significant.” (Doc. 159-1 at 10-12.)
10          The Ninth Circuit has held that such statistics can support an inference of gender
11   bias in a Title IX case. Schwake v. Ariz. Bd. of Regents, 967 F.3d 940, 949 (9th Cir. 2020)
12   (plaintiff’s “allegations of a pattern of gender-based decisionmaking against male
13   respondents in sexual misconduct disciplinary proceedings” were “relevant” and bolstered
14   plausibility of Title IX claim); Doe v. Regents of the University of California, 23 F.4th 930,
15   938 (9th Cir. 2022) (“Doe alleges that the respondents in Title IX complaints that UCLA
16   decided to pursue from July 2016 to June 2018 were overwhelmingly male (citing specific
17   statistics for each of those years) . . . . Doe also alleges that the University ‘has never
18   suspended a female for two years based upon these same circumstances’ . . . . As we noted
19   in Schwake, these are precisely the type of non-conclusory, relevant factual allegations that
20   the district court may not freely ignore.”). As discussed in the order denying ABOR’s
21   motion for summary judgment, Dr. Kaufman’s F-23 statistics are relevant under these
22   standards. Although there may e bias-free explanations for the divergent outcomes that
23   Dr. Kaufman identified—perhaps all of the cases involving female F-23 respondents
24   involved mild forms of sexual misconduct while the cases involving severe sanctions
25   imposed against male F-23 respondents involved more serious forms of sexual
26   misconduct—there is no evidence that the distribution of violations is actually skewed
27   along gender lines in this manner. Instead, ABOR simply identifies two cases involving
28   relatively mild violations by female respondents and two cases involving relatively serious


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 1   violations by male respondents and speculates that the remaining cases may follow the
 2   same pattern. Additionally, this is not a situation where Dr. Kaufman made up his own
 3   definition of “sexual misconduct” in an attempt to create some sort of cherry-picked
 4   statistic.   The Court finds it persuasive that section F-23’s definition of “sexual
 5   misconduct” is a definition both created and used by ASU, which suggests that ASU has
 6   already decided it unifies a population of similarly situated respondents in some material
 7   respect. Finally, although some F-23 respondents were charged with multiple code
 8   violations, Dr. Kaufman states that he used the Mantel Haenszel approach to create peer
 9   groups for Tables 2 and 3, which accounts for multiple violations, and ABOR does not
10   challenge the reliability of the approach itself under Daubert.
11           The bottom line is that the challenged data is not irrelevant. Although a reasonable
12   juror could conclude that the wide scope of F-23 violations and the complicating factor of
13   multi-violation sanctions reduces (or eliminates) the probative value of Dr. Kaufman’s
14   evidence, it is the jury’s role to make that determination after cross-examination.
15                                ii.    Males Receive More Severe F-15 Sanctions
16           ABOR argues that Dr. Kaufman’s opinions on the gender disparity in F-15
17   violations in Table 4 are unreliable and irrelevant. This is because “Dr. Kaufman states
18   that he attempted to control for the ‘type’ of violation by only including matters in which
19   [F-15] was the sole alleged violation,” but “Doe was not solely charged with an [F-15]
20   violation” and “there is no issue in this lawsuit about whether the sanctions imposed on
21   students facing solely [F-15] violations are harsher for females than they are for males.”
22   (Doc. 159 at 11-12.)
23           Again, ABOR demands too much at the motion-to-exclude stage. If true, the
24   conclusion that ASU sanctions men accused of alcohol violations more harshly than
25   women accused of alcohol violations is relevant, both because (1) Doe was accused of an
26   alcohol violation and (2) any statistical evidence showing that ASU is biased against men
27   in disciplinary proceedings is at least some evidence supporting Doe’s gender bias claim.
28   The fact that Doe was accused of multiple violations, and that ASU’s record of


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 1   investigating alcohol violations may not be as probative of bias as ASU’s record of
 2   investigating sexual misconduct, is fertile territory for cross-examination, but it does not
 3   provide a basis for exclusion.
 4                               iii.      Male Complainants Do Not Result In Severe Sanctions
 5           ABOR argues that Dr. Kaufman’s opinions on ASU’s treatment of male
 6   complainants in F-23 cases in Table 5 are unreliable because, although Dr. Kaufman states
 7   that most of the data available to him did not identify a complainant’s gender, information
 8   was available to him that provided this information. (Doc. 159 at 10.) Specifically, ABOR
 9   points to Exhibit 5, row 250. (Id.)
10           The Court has reviewed the cited document. Although Exhibit 5 provides a wide
11   array of information (incident number, lead investigator, incident date and month, date
12   reported, date closed, days open, relevant campus, charges, type of charge, category of
13   charge, status of charge, incident summary, investigation’s progress, any interim action,
14   university’s findings and sanctions, any appeal, student’s status, whether the student is in
15   Greek life, whether the student is an athlete, whether the student is international, where the
16   incident occurred, and whether an attorney is involved), row 250 does not appear to identify
17   the gender of the respondent. (Doc. 159-4 at 20-22.) Perhaps ABOR means that Dr.
18   Kaufman should have combed through incident descriptions to find gender pronouns,
19   where available. But in the incident description provided in row 250, the respondent
20   appears to be female, not male. (Id. at 21 [“A student informed SRR that she is being
21   harassed . . . .”].)
22           No one disputes that Dr. Kaufman reliably analyzed the (according to ABOR,
23   incomplete) data before him. ABOR’s reference to evidence of a single charge that does
24   not on its face contradict Dr. Kaufman’s findings is hardly “indisputable record facts [that]
25   contradict or otherwise render the opinion unreasonable.” Rebel Oil Co. v. Atl. Richfield
26   Co., 51 F.3d 1421, 1436 (9th Cir. 1995). ABOR may seek to establish through cross-
27   examination that Dr. Kaufman’s opinions are incomplete or misleading, but exclusion is
28   not warranted.


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 1                        c.     Economic Loss
 2          ABOR’s first objection is that Dr. Kaufman’s assumptions about the trajectory of
 3   Doe’s career are unfounded and inaccurate. As for foundation, there is evidence in the
 4   record to support the assumption that Doe had a reasonable probability of achieving a wide
 5   range of professional outcomes within the wrestling profession. Although the Court has
 6   excluded Owen from testifying that Doe would have been one of the nation’s best wrestlers,
 7   the fact that Doe had won several wrestling competitions is still before the jury.
 8   Additionally, both Doe’s and ABOR’s experts agree that Doe could have become a
 9   Division I coach and simply disagree on where, exactly, Doe’s ceiling would be. (Doc.
10   163-1 at 4, Doc. 165-1 at 10.)
11          As for accuracy, it is irrelevant—for threshold admissibility purposes—that Dr.
12   Kaufman’s assumptions may be proved inaccurate at trial. All that matters is that they
13   have some basis in the record. An expert may, in appropriate circumstances, rely on
14   assumptions when formulating opinions. Fed. R. Evid. 702, advisory committee notes to
15   2000 amendments (“The language ‘facts or data’ is broad enough to allow an expert to rely
16   on hypothetical facts that are supported by the evidence.”). Disagreement with an expert’s
17   assumptions does not, in general, provide a basis for excluding the expert’s testimony. See,
18   e.g., Marsteller v. MD Helicopter Inc., 2018 WL 3023284, *2 (D. Ariz. 2018) (“The
19   challenges to Equals’ opinions and the weaknesses in his assumptions are issues to be
20   explored on cross-examination.”). To be sure, “nothing in either Daubert or the Federal
21   Rules of Evidence requires a district court to admit opinion evidence that is connected to
22   existing data only by the ipse dixit of the expert. A court may conclude that there is simply
23   too great an analytical gap between the data and the opinion proffered.” Joiner, 522 U.S.
24   at 146.   Nevertheless, “[s]haky but admissible evidence is to be attacked by cross
25   examination, contrary evidence, and attention to the burden of proof, not exclusion.”
26   Primiano, 598 F.3d at 564. “Basically, the judge is supposed to screen the jury from
27   unreliable nonsense opinions, but not exclude opinions merely because they are
28   impeachable.” Alaska Rent-A-Car, Inc., 738 F.3d at 969. See also Fed. R. Evid. 702


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 1   advisory committee’s note to 2000 amendment (“[P]roponents do not have to demonstrate
 2   to the judge by a preponderance of the evidence that the assessments of their experts are
 3   correct, they only have to demonstrate by a preponderance of evidence that their opinions
 4   are reliable . . . . The evidentiary requirement of reliability is lower than the merits standard
 5   of correctness.” (alteration in original) (internal quotation marks omitted)).
 6          Here, Dr. Kaufman takes core assumptions that have a reasonable basis in the record
 7   and stretches them to opposing extremes to establish a range of possible outcomes. If
 8   ABOR can discredit these assumptions at trial, that will also invalidate the opinion. See
 9   generally United States v. Crabbe, 556 F. Supp. 2d 1217, 1224 (D. Colo. 2008) (“An expert
10   witness may often ‘assume’ a fact for purposes of applying the methodology. . . . If the
11   assumption is in error, the opinion may be entirely invalidated.”). But because the
12   assumptions about Doe’s future employability do not veer into “unreliable nonsense,” and
13   ABOR does not dispute Dr. Kaufman’s algebraic methodology of converting a range of
14   assumptions into a range of potential economic loss, exclusion is not warranted.
15          As for Dr. Kaufman’s salary assumptions, largely the same analysis applies. ABOR
16   objects to Dr. Kaufman’s use of median wages that do not account for school size, stature,
17   or a coach’s experience, arguing that “Dr. Kaufman shows no connection between the
18   salary he selected and the facts in this case.” (Doc. 159 at 15-16.) Not so. Dr. Kaufman’s
19   choice of salary data and analysis thereof may not meet ABOR’s standards for
20   persuasiveness, but it is certainly relevant to and has a foundation in the record. ABOR
21   also points to actual errors in Dr. Kaufman’s data, but Doe replies that these are scrivener’s
22   errors which have since been updated in the record and do not meaningfully affect Dr.
23   Kaufman’s overall analysis. Scrivener’s errors that have already been corrected are not
24   grounds for exclusion.
25          C.     Cindi Nannetti
26                 1.      The Nannetti Report
27          Cindi Nannetti “spent 32 years as a prosecutor focusing primarily on the prosecution
28   of crimes involving sexual misconduct.” (Doc. 161-1 at 2.) During that time, she worked


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 1   with various entities, including schools and government agencies, to “develop and draft
 2   . . . policies, procedures and trainings for the prevention of and reaction to sexual
 3   misconduct” and to “educate employees on sexual misconduct.” (Id.) Since retiring in
 4   2014, she has continued teaching and consulting on these issues and has “served as an
 5   expert witness in cases involving Title IX claims.”2 (Id.) Nannetti is receiving $250 per
 6   hour for her consulting work on this case and $350 per hour for testifying. (Id.)
 7           Doe asked Nannetti to testify on the following topics: (1) whether the investigation
 8   into the sexual misconduct allegations levied against Doe was fair and impartial, (2)
 9   whether there were any errors or flaws in the investigation, and (3) whether the
10   investigation appears to be impacted by the Start by Believing (“SBB”) campaign at ASU.
11   (Id.)
12           In sum, Nannetti opined that (1) the investigation was biased, (2) there were many
13   errors and flaws in the investigation, and (3) the SBB campaign “resulted in an
14   investigation and subsequent disciplinary proceeding that starts by believing accusers . . .
15   [which] impacted Doe because evidence that did not fit within that narrative was ignored,
16   while evidence that supported that narrative was weighted heavily.” (Id. at 2-3.)
17                  2.     Analysis
18           ABOR seeks to exclude Nannetti from offering any opinions at trial. (Doc. 161.)
19   In general, ABOR raises objections based on Nannetti’s qualifications, the reliability of
20   Nannetti’s opinions, and the relevance of Nannetti’s opinions. ABOR’s more specific
21   objections, and Doe’s responses, are addressed on an issue-by-issue basis below.
22                         a.     Qualifications
23           ABOR contends that all Nannetti’s opinions should be excluded because her
24   expertise as a criminal prosecutor does not qualify her to opine on “the fundamentally
25   2
            Nannetti claims that she has experience as an expert witness in cases “involving
     Title IX claims,” but in support of that contention she simply cites a roster of individuals
26   who are members of the “Governor’s Commission to Prevent Violence Against Women
     Start by Believing Work Group.” (Doc. 161-1 at 52.) This document does not provide any
27   insight into Nannetti’s work on a particular controversy, or what it means for a case to
     “involve” Title IX claims, or whether Nannetti’s service as an expert in some unspecified
28   case was relevant to the Title IX claims in that case (rather than some other part of the
     case).

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 1   different Title IX investigative process in student disciplinary settings, let alone to opine
 2   on whether student disciplinary processes comply with Title IX.” (Doc. 161 at 1.) Doe
 3   responds that “Nannetti is not offered for Title IX opinions; she is offered as an expert on
 4   sexual misconduct investigations, specifically involving gender and confirmation bias.”
 5   (Doc. 191-1 at 6-7.) Doe adds that the cases cited by ABOR are distinguishable “because
 6   Nannetti is opining on the investigative process, as there is no distinct ‘Title IX
 7   investigative process;’ only general guidelines adopted by ASU. Because Doe only offers
 8   Nannetti for a limited purpose for which she is clearly qualified, the motion must be
 9   denied.” (Id. at 7.)
10          Doe largely has the better of these arguments. Although Nannetti’s report contains
11   multiple references to Title IX, Nannetti does not ultimately opine about how a Title IX
12   investigation should be conducted or about whether ASU’s investigation of Doe was a
13   proper Title IX investigation. Instead, Nannetti opines that “the investigation into the
14   allegations of sexual misconduct against Doe was biased” and that “there were a multitude
15   of errors and flaws in the investigation of the claims against Doe.” (Id. at 2-3.) These are
16   not Title IX-specific opinions, but opinions about how investigations into allegations of
17   sexual misconduct should generally be conducted.           Indeed, Nannetti faults ASU’s
18   representatives for not following certain “basic investigative standards” during Doe’s
19   investigation, which Nannetti identifies as (1) the need to “address[] inconsistencies and
20   ambiguities to the extent practicable,” (2) the need to “to engage in the active accumulation
21   of evidence” or “[a]t the very least . . . try to obtain all relevant and reasonably available
22   evidence,” and (3) the need to “begin the investigation without bias or preconceived
23   notions and follow the evidence in a neutral fashion.” (Doc. 161-1 at 12-16.) The Court
24   has little trouble concluding that Nannetti would have become familiar with these “basic
25   investigative standards,” which are not unique to the Title IX investigatory context, during
26   her decades as a sex-crimes prosecutor. Thus, Nannetti is qualified to testify about them.
27   Whether they are relevant in this Title IX action is a distinct issue addressed below.
28          The only caveat concerns Nannetti’s opinion that the investigation was flawed and


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 1   biased in part because “Davis failed to follow the ATIXA Training and Certification
 2   materials provided to achieve best practices for civil rights investigations.” (Id. at 16-17.)
 3   Elsewhere in the report, Nannetti explains that “[s]exual misconduct investigations
 4   involving Title IX, including those at [ASU], are guided by the standards set forth by the
 5   Association of Title IX Administrators (‘ATIXA’).” (Id. at 3.) These are Title IX-specific
 6   opinions, not opinions about how sexual misconduct investigations should generally be
 7   conducted. Doe makes no effort to establish that Nannetti is qualified to offer these
 8   particular opinions and the Court agrees with ABOR that she is not.
 9                        b.     Reliability
10          ABOR contends that Nannetti’s opinions are unreliable for four reasons: (1) they
11   are predicated on the “false foundation” of criminal prosecution experience, which is
12   substantially different from “an administrative proceeding in an educational setting”; (2)
13   she erroneously assumed that ASU followed the SBB campaign when investigating student
14   disciplinary matters, when “all of the evidence in this case, including witness testimony,
15   regarding SBB establishes that [ASU’s Student Rights & Responsibilities Office] did not
16   follow the campaign”; (3) her opinions are not supported by a “systematic evaluation of
17   the facts,” but instead “a series of overgeneralizations, unsupported speculation and her
18   own subjective beliefs”; and (4) her opinions are “contradicted by testimony and
19   documents in the record.” (Id. at 8-156.)
20          In response, Doe contends that “Nanetti can reliably apply decades of experience
21   and her knowledge of established standards of bias-centric investigations to Doe’s alleged
22   sexual misconduct” and that “Nannetti is allowed to assume ASU followed the [SBB]
23   campaign.” (Doc. 191-1 at 7-9.)
24          The Court will begin with Nannetti’s final opinion, which is that the SBB campaign
25   “resulted in an investigation and subsequent disciplinary proceeding that starts by believing
26   accusers . . . [which] impacted Doe because evidence that did not fit within that narrative
27   was ignored, while evidence that supported that narrative was weighted heavily.” (Doc.
28   161-1 at 2-3.) ABOR argues this opinion is unreliable because “[t]here is no evidence—


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 1   none—that Ms. Davis followed SBB” and “all of the evidence in this case, including
 2   witness testimony, regarding SBB establishes that SRR did not follow the campaign.”
 3   (Doc. 161 at 10.) In response, Doe does not dispute ABOR’s description of the evidence
 4   in the record and simply asserts that “Nannetti is allowed to assume ASU followed the
 5   campaign” for purposes of formulating expert opinions. (Doc. 191-1 at 9.)
 6          Doe is incorrect. Although, as discussed with respect to Dr. Kaufman, experts have
 7   broad leeway to rely on assumptions when formulating opinions, there is a limit. One such
 8   limit is when an opinion is based on an assumption that is demonstrably and inarguably
 9   incorrect. Hanna v. Reg’l Trans. Comm’n, 2008 WL 11450865, *4 (D. Nev. 2008)
10   (“Plaintiff’s expert testimony fails to meet the threshold Rule 702 requirement of assisting
11   the trier of fact because it is based upon a false factual assumption vital to the conclusion
12   Plaintiff was the most qualified applicant. . . . Plaintiff admitted that she did not perform
13   all duties of the Procurement and Compliance Analyst position . . . [and] also admitted that
14   she had little experience in the qualification areas of minority business enterprises and
15   women-owned business enterprises. As Plaintiff’s expert gave ‘heavy weight’ to the
16   incorrect assumption that Plaintiff was experienced in the duties of the advertised position,
17   the expert testimony is inadmissible.”). Here, as discussed in more detail in the order
18   denying ABOR’s summary judgment motion, the undisputed evidence establishes that
19   Davis and other individuals associated with Doe’s disciplinary process did not follow SBB
20   as part of that process.      Accordingly, Nannetti’s third opinion is unreliable and
21   inadmissible.
22          This leaves Nannetti’s other two opinions, which are that the investigation was
23   biased and that the investigation was flawed. ABOR’s first reliability objection to those
24   opinions is that Nannetti’s criminal prosecution experience provides a “false foundation”
25   because she “rel[ied] on criminal concepts throughout her Report,” which “confirms that
26   she viewed the evidence through the wrong prism and, as a result, her opinions are
27   inherently unreliable.” (Doc. 161 at 9.) The problem with this argument is that, as noted
28   above, Nannetti applied the following three “basic investigative standards” when reaching


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 1   her opinions—the need to address inconsistencies and ambiguities, the need to attempt to
 2   obtain all relevant and reasonably available evidence, and the need to begin the
 3   investigation without bias or preconceived notions and follow the evidence in a neutral
 4   fashion. These are not criminal-specific standards but basic investigative techniques.3
 5          ABOR’s next reliability objection concerns Nannetti’s reliance on erroneous
 6   assumptions regarding SBB. (Id. at 10.) Although, as noted above, that objection provides
 7   a basis for excluding Nannetti’s third opinion, it does not undermine the reliability of
 8   Nannetti’s other two opinions because they turn on additional perceived flaws unrelated to
 9   the SBB campaign.
10          ABOR’s next reliability objection is that Nannetti’s opinions are “founded upon a
11   series of overgeneralizations, unsupported speculation and her own subjective beliefs,
12   which are undeniably framed by her personal experience as a criminal prosecutor, not a
13   Title IX investigator. Throughout her Report, Ms. Nannetti repeatedly speculates that Ms.
14   Davis presumed Roe was a ‘victim’ of sexual assault, which resulted in ‘confirmation bias’
15   permeating throughout the student disciplinary investigation.” (Doc. 161 at 11-12.) ABOR
16   takes particular issue with Nannetti’s opinion that Davis intentionally failed to gather
17   relevant evidence, which ABOR views as not only “incendiary” but wholly unsupported
18   by the record. (Id. at 12-13.)
19          Although the Court agrees with ABOR that Nannetti is not qualified to opine about
20   Davis’s intent, ABOR’s reliability objections otherwise lack merit. In the relevant portions
21   of her report, Nannetti identifies various inconsistencies and ambiguities that, in Nannetti’s
22   view, should have been addressed during the investigation (Doc. 161-1 at 12-13); identifies
23   various investigative steps that, in Nannetti’s view, Davis should have taken (id. at 13-14);
24   and identifies various other developments during the investigation that, in Nannetti’s view,
25   reflect confirmation bias and a failure to neutrally follow the evidence (id. at 14-15).
26
     3
            Presumably, ABOR’s position is not that investigators in administrative
27   proceedings (unlike in criminal proceedings) are free to ignore inconsistencies and
     ambiguities, to decline to seek out relevant evidence, and to begin with preconceived
28   notions and cling to those notions throughout the investigation.


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 1   ABOR’s disagreement with these criticisms is fodder for cross-examination, not a basis for
 2   exclusion based on unreliability.
 3          ABOR’s final reliability objection is that Nannetti “levies several accusations that
 4   are contradicted by testimony and documents in the record.” (Doc. 161 at 13-15.) More
 5   specifically, ABOR identifies evidence that Davis attempted to gather materials from the
 6   Tempe Police Department and the SANE report. (Id.) The Court concludes once again
 7   that ABOR’s arguments on this point are fodder for cross-examination, not a basis for
 8   exclusion. Even if Nannetti made factual assumptions belied by the record with respect to
 9   these two particular criticisms, they were simply two of the many perceived investigative
10   flaws identified in Nannetti’s report. Accordingly, they do not render Nannetti’s first two
11   opinions categorically unreliable and inadmissible.
12                        c.     Relevance
13          ABOR contends that Nannetti’s opinions are irrelevant and likely to confuse the
14   jury because they erroneously emphasize anti-perpetrator bias (when the relevant inquiry
15   is anti-male bias), erroneously presuppose that Title IX must be “flawless,” and are cabined
16   to criticisms of Davis, who was not a decisionmaker and not the sole source of Dr. Rund’s
17   decision. (Doc. 161 at 15-17.) Doe responds that “Nannetti’s testimony is relevant under
18   Rule 702” because “Nannetti’s testimony shows that the investigation was improper as to
19   Doe, a male, and favored Roe, a female.” (Id. at 9-11.)
20          The Court agrees with Doe that Nannetti’s first two opinions satisfy Rule 702’s
21   liberal standard for relevance. As discussed in more detail in the summary judgment order,
22   the Ninth Circuit has emphasized that evidence of procedural irregularities during a
23   university’s sexual misconduct investigation may, at least when coupled with other
24   evidence, support an inference of gender bias in a Title IX proceeding. See, e.g., Schwake,
25   967 F.3d at 950 (“[P]rocedural irregularities . . . support[] an inference of gender bias when
26   considered along with Schwake’s allegations of background indicia of sex
27   discrimination.”); Doe, 23 F.4th at 940 (“[I]rregularities in Doe’s proceedings . . . , while
28   not dispositive on their own, support an inference of gender bias.”); id. at 941 (“[A]t some


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 1   point an accumulation of procedural irregularities all disfavoring a male respondent begins
 2   to look like a biased proceeding . . . .”). Nannetti’s first two opinions could be viewed by
 3   a reasonable juror as establishing the existence of procedural irregularities during Doe’s
 4   investigation—that is, a failure to follow basic investigative standards. Although such
 5   irregularities may, on their own, only serve as evidence of pro-complainant bias (rather
 6   than anti-male bias), they still constitute one relevant component of a plaintiff’s Title IX
 7   case. Nor do Nannetti’s criticisms presuppose that a Title IX investigation must be
 8   flawless. Nannetti purports to identify a long list of flaws and errors. Finally, ABOR cites
 9   no authority in support of its position that only procedural irregularities committed by final
10   decisionmakers are relevant in a Title IX action and Ninth Circuit law appears to be to the
11   contrary. See, e.g., Doe, 23 F.4th at 939 (“Contrary to the Regents’ argument, statements
12   by pertinent university officials, not just decisionmakers, can support an inference of
13   gender bias. . . . It is therefore reasonable to infer that Mr. Zeck’s statement reflects the
14   broader gender assumptions within UCLA’s Title IX office during its investigation of
15   Doe.”) (cleaned up); Schwake, 967 F.3d at 950 (“The University argues that Dr. Seager’s
16   statements cannot show that gender bias affected Schwake’s sexual misconduct
17   disciplinary case because Dr. Seager was not a decisionmaker. We disagree. Statements
18   by ‘pertinent university officials,’ not just decisionmakers, can support an inference of
19   gender bias. . . . Like the procedural irregularities some of our sister circuits have
20   considered when faced with allegations of pressure, the violation of confidentiality by those
21   involved in Schwake’s disciplinary case supports an inference of gender bias when
22   considered along with Schwake's allegations of background indicia of sex discrimination.”)
23   (citation omitted).
24                         d.    Summary As To Nannetti
25          For the reasons discussed above, ABOR’s request to categorically exclude Nannetti
26   from testifying is denied, but Nannetti must limit her opinions to the following topics: (1)
27   whether the investigation into the sexual misconduct allegations levied against Doe was
28   fair and impartial; and (2) whether there were any errors or flaws in the investigation.


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 1   Additionally, Nannetti’s noticed opinions on those topics are limited in that Nannetti may
 2   not offer the opinions that (1) the investigation was flawed and biased in part because
 3   “Davis failed to follow the ATIXA Training and Certification materials provided to
 4   achieve best practices for civil rights investigations”; and (2) Davis intentionally failed to
 5   gather relevant evidence.
 6          D.     Peter F. Lake
 7                 1.      The Lake Report
 8          Peter Lake has “extensive experience in higher education law and policy, and
 9   academic and operational expertise with respect to the law of higher education and . . . Title
10   IX.” (Doc. 175-1 at 4.) In the past, Lake served as Director of Title IX Compliance at
11   Stetson University, and he has experience as a student discipline officer at Stetson
12   University College of Law. (Id. at 4.) Lake has been qualified as an expert in matters
13   relating to Title IX, trains colleges and universities on Title IX, and is “familiar with
14   industry behavior relating to Title IX compliance.” (Id.) Lake has reviewed documents
15   provided by ABOR but has otherwise done no independent inquiry into this matter beyond
16   brief interviews. (Id.) He charges $550 per hour for most tasks with a minimum fee of
17   $20,000. (Id. at 145.)
18          Lake was asked to review the Nannetti Report as well as Nannetti’s one-page
19   supplemental expert report and offer his expert opinions in response. (Id. at 4-5.) In sum,
20   Lake opined that (1) Nannetti is not qualified to offer opinions and has not offered relevant
21   opinions, even if she is qualified (id. at 6-10); (2) there is no evidence that ASU’s
22   investigation was biased against Doe (id. at 10); (3) even if Davis was biased, she was not
23   in a position to make a disciplinary decision (id.); (4) Davis’s investigation did not
24   discriminate against Doe on the basis of sex and did not deviate from ASU’s policies and
25   procedures (id.); (5) “Title IX does not mandate that grievance processes as a whole or
26   initial investigations, be ideal,” and “the fact that a final decision , , , is reviewed and even
27   overturned internally or by an external authority does not imply, or raise an inference, in
28   and of itself, that an initial investigation was flawed or materially biased in any way” (id.


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 1   at 11); (6) although respondents are “entitled to a presumption of non-responsibility in Title
 2   IX proceedings,” complainants are “entitled to a presumption that they are not inherently
 3   lacking in credibility,” and Nannetti’s approach would undermine the latter presumption
 4   (id.); (7) there is no indication that ASU personnel were motivated by the SBB campaign
 5   (id.); and (8) although Nannetti faults Davis for not securing certain pieces of evidence,
 6   Doe could have provided those materials to Davis, and his failure to do so “suggests the
 7   possibility of an effort (potentially collaborative) to obstruct [the] ASU disciplinary
 8   process.” (Id. at 11-12.)
 9          Doe argues that Lake’s opinions should be excluded for five reasons: (1) “certain of
10   Lake’s opinions usurp the role of the Court by opining on legal issues reserved for the
11   Court”; (2) “Lake invades the Court’s role as gatekeeper by opining on the admissibility
12   and relevance of Plaintiff’s expert Cindi Nannetti’s expert opinions”; (3) “Lake invades
13   the jury’s province by opining on the credibility of Nannetti”; (4) “Lake’s report purports
14   to be a rebuttal to Nannetti’s expert report, yet Lake asserts a series of new opinions that
15   do not address, let alone contradict or challenge, anything in Nannetti’s report and are
16   improper for an expert report”; and (5) “Lake opines on matters that are not helpful to the
17   trier of fact and should be excluded under Rule 403.” (Doc. 164 at 1.) The Court will
18   address each argument separately, but because the appropriate scope of Lake’s opinion will
19   guide the rest of the inquiry, the Court begins there.
20                 2.     Scope Of Lake’s Report
21          Doe argues that “Lake’s rebuttal report attempts to opine on issues outside the scope
22   of rebuttal,” and because Nannetti’s report did not offer any opinion on Title IX standards
23   or protocols, “Lake’s opinions as to Title IX standards and protocols should be excluded
24   as improper rebuttal.” (Doc. 164 at 7-9.) ABOR responds, in brief, that Lake is not
25   formally a rebuttal expert, but an affirmative expert who is responding to Nannetti’s report,
26   and thus his scope is not limited to rebuttal. (Doc. 186 at 14-16.) Doe replies that “the
27   Court should strike the opinions of Lake that do not rebut Nannetti” because Lake uses
28   rebuttal-report limiting language at the outset of his opinion and rebuttal reports are those


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 1   “intended solely to contradict or rebut evidence” in an opposing party’s expert disclosure.
 2   (Doc. 198 at 7.)
 3          Lake is an expert witness in his own right, regardless of his choice to mainly respond
 4   to Nannetti. Lake’s report was submitted on August 20, 2021, which was the deadline for
 5   ABOR to disclose its affirmative expert witnesses. (Doc. 67 at 3 [case management order],
 6   Doc. 145 [grant of motion to amend case deadlines].) The deadline for rebuttal witnesses
 7   was not until September 10, 2021. (Doc. 145.) Thus, the Lake report is not restricted to
 8   rebuttal by the terms of the case management order.
 9          Doe argues that, “regardless of the Case Management Report,” Lake has boxed
10   himself into the strictures of a rebuttal expert by styling his report as an “Expert Response”
11   on the cover page and stating that he was “asked by ABOR to review the [Nannetti Report
12   and Supplement] and offer [his] expert opinions in response.” (Doc. 175-1 at 1-4.) But
13   Doe offers no caselaw suggesting that an affirmative expert can involuntarily become a
14   rebuttal-only expert based on the form or cover page of his report.
15          True rebuttal experts are limited “solely to contradict[ing] or rebut[ting] another
16   expert’s evidence” because it would result in unfair surprise to spring new theories on the
17   opposing party when it is too late to rebut them. Fed. R. Civ. P. 26(a)(2)(d)(ii). There is
18   no similar risk here, as nothing prevented Doe from retaining an expert to prepare a rebuttal
19   of Lake’s opinions.
20          The Court thus agrees with ABOR that, although Lake styles himself as a
21   “responsive” expert, he is not a formal rebuttal expert with the restrictions that accompany
22   that designation. Doe’s remaining arguments concern the proper scope of rebuttal opinion
23   and are rendered moot by this conclusion.
24                 3.      Legal Issues Reserved For The Court
25          Doe argues that some of Lake’s opinions, mainly “the applicable legal standards
26   that should be applied to Title IX cases,” must be excluded because they instruct the jury
27   on the law, which is the Court’s responsibility. (Doc. 164 at 5.) ABOR responds that
28   “Professor Lake does not opine on the ‘ultimate issue of law,’ (i.e., whether ABOR violated


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 1   Title IX). Instead, the Lake Report provides general background on Title IX . . . [which]
 2   is the exact type of testimony courts have repeatedly permitted Title IX experts to offer to
 3   assist the trier of fact in determining whether a university’s Title IX responses and
 4   investigations are appropriate.” (Doc. 186 at 7-8.) Doe disputes this characterization,
 5   arguing in reply that Lake “clearly attempts to instruct the fact finder on what legal standard
 6   should be applied to the facts of this case. . . . That Lake’s opinions are mixed with some
 7   discussion of the ‘history and purpose’ of Title IX does not cure the defects in the opinions
 8   which Doe seek to exclude.” (Doc. 198 at 2-3.)
 9          The Ninth Circuit has excluded expert testimony that “defines the governing law,”
10   as well as testimony that “applies the law to the facts” and testimony that sets forth “what
11   the law is and how it should be applied to the facts of the case.” Pinal Creek Group v.
12   Newmont Mining Corp., 352 F. Supp. 2d 1037, 1043 (D. Ariz. 2005). See generally Crow
13   Tribe of Indians v. Racicot, 87 F.3d 1039, 1045 (9th Cir. 1996) (“Expert testimony is not
14   proper for issues of law. Experts interpret and analyze factual evidence. They do not
15   testify about the law. . . .”) (citation and internal quotation marks omitted); Fidelity Nat.
16   Fin., Inc. v. National Union Fire Ins. Co. of Pittsburg, PA, 2014 WL 128639, *8 (S.D. Cal.
17   2014) (“Federal law precludes an expert from invading the province of the court to instruct
18   on the law . . . . The rule is easy to state but difficult to apply and the outcome depends
19   upon how the expert expresses his opinion.”). Accordingly, district courts have allowed
20   experts to testify about industry practice and standards in Title IX cases but refused to allow
21   “even a slight deviation . . . into the requirements of Title IX.” Portz v. Cloud State Univ.,
22   297 F. Supp. 3d 929, 953 (D. Minn. 2018); see also Stevens v. Brigham Young Univ., 2020
23   WL 560572, *2 (D. Idaho 2020) (permitting testimony regarding Title IX’s history and
24   purpose and industry practices and standards but excluding “testimony regarding legal
25   standards and their applicability to this case”).
26          Here, Lake’s opinions sometimes veer into legal analysis under the auspices of
27   foundation.    In particular, Lake’s opinions about the “objective authoritative legal
28   standards for an implied cause of action for money damages in federal court under Title


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 1   IX,” which are supported by citations to caselaw (Doc. 175-1 at 12-13), are inappropriate.
 2   It is the Court’s responsibility to decide which legal standards govern the jury’s
 3   interpretation of evidence. Similarly inappropriate are Lake’s seeming opinion that the
 4   Arizona Court of Appeals’ opinion is legally irrelevant (“the fact that a final decision . . .
 5   is reviewed and even overturned internally or by an external authority does not imply, or
 6   raise an inference, in and of itself, that an initial investigation was materially flawed or
 7   biased in any way”) and Lake’s other opinions of what types of evidence can (and can’t)
 8   support an inference of bias in a Title IX. (Id. at 10.)
 9          That said, much of Lake’s proposed testimony appears to be unobjectionable
10   recitation of Title IX’s history that is within Lake’s expertise. As a result, the Court will
11   grant Doe’s motion to exclude Lake’s testimony inasmuch as he seeks to testify about the
12   legal requirements of Title IX and the application of those legal requirements to this case.
13   And if Lake cannot recount the history and purposes of Title IX without referencing its
14   specific requirements, the Court will not hesitate in excluding that testimony as well.
15                 4.     Admissibility Of Nannetti Opinion
16          Doe argues that Lake’s opinions about the admissibility of Nannetti’s opinions “are
17   not helpful and potentially interfere with the role of the Court,” as “the Court can decide
18   [qualification and relevance] issues on its own.” (Doc. 164 at 6.) ABOR responds that
19   “the Lake Report does not opine on admissibility and Professor Lake will not address
20   admissibility at trial. Instead, Professor Lake offers testimony concerning the reliability
21   . . . and foundation . . . of Ms. Nannetti’s opinions.” (Doc. 186 at 11.) Doe replies that
22   “ABOR cannot and has not explained, for instance, how Lake’s opinions supporting his
23   contention that ‘Cindi Nannetti, may not be qualified to offer in opinions in this matter
24   and/or has not offered relevant opinions in this matter’ could be construed as anything other
25   than opinions on the admissibility of Nannetti’s testimony.” (Doc. 198 at 4.)
26          The Court is responsible for determining the admissibility of expert opinions.
27   Joiner, 522 U.S. at 142. Nevertheless, an opposing expert’s—even inartful—use of such
28   terms “qualified,” “relevant,” or “foundation” does not automatically violate this principle.


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 1   Each of the specific opinions to which Doe objects are summaries of Lake’s detailed
 2   opinions, which themselves properly attack the validity of Nannetti’s premises. The Court
 3   does not read Lake’s report to be a statement about the admissibility of Nannetti’s opinions,
 4   but a statement about their persuasiveness. This is, at a minimum, a “permissible topic of
 5   rebuttal testimony.” Smilovits v. First Solar, Inc., 2019 WL 6875492, * 13 (D. Ariz. 2019).
 6                 5.      Nannetti’s Credibility
 7          Doe argues that Lake “endeavors to opine on Nannetti’s credibility [but e]xpert
 8   witness credibility is the exclusive province of the jury and Lake’s ‘opinions’ on Nannetti’s
 9   credibility should be excluded.” (Doc. 165 at 7.) ABOR responds that “the three excerpts
10   Doe quotes from the Lake Report address flaws in the substance of Ms. Nannetti’s analysis
11   and conclusions, not her credibility. . . . Professor Lake’s critique . . . is appropriate expert
12   testimony.” (Doc. 186 at 12.) Doe replies that “the opinions Doe cites as opining on
13   Nannetti’s credibility blatantly accused her of having an ‘interest in this matter’ and having
14   a bias” and that ABOR “has not cited to one case supporting the admissibility of an expert
15   opinion making bald claims of bias against another.” (Doc. 198 at 4-5.)
16          Lake exceeds the permissible scope of expert testimony when he asserts that
17   Nannetti is personally biased toward Doe or in favor of respondents in general. Lake is an
18   expert on Title IX investigations, not an expert on expert witnesses in Title IX
19   investigations. He has laid no foundation to establish his ability to determine Nannetti’s
20   bias, and although he may attack the merits of Nannetti’s premises and conclusions, he
21   cannot testify directly on Nannetti’s credibility. The credibility of an expert witness, and
22   the weight to be given to her, are issues for the trier of fact. Robles v. Agreserves, Inc., 158
23   F. Supp. 3d 952, 992 (E.D. Cal. 2016); see also City of Pomona v. SQM North Am. Corp.,
24   750 F.3d 1036, 1053 (9th Cir. 2014) (“Facts casting doubt on the credibility of an expert
25   witness . . . are questions reserved for the fact finder.”).
26                 6.      Lake’s Opinions About Facts
27          Finally, Doe argues that “certain of Lake’s opinions regarding facts in the case are
28   unhelpful to the jury and should be excluded,” specifically those that “are nothing more


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 1   than his lay interpretation of a recitation of certain ‘facts.’” (Doc. 164 at 9.)    ABOR
 2   responds that “an expert witness can and indeed must identify the facts relevant to his
 3   opinion” and that Lake’s “opinions are highly probative and directly relate to Doe’s Title
 4   IX claim against Doe.” (Doc. 186 at 13-14, 17.) Doe replies that “lay interpretation or
 5   recitations of ‘facts’,” such as Lake’s statements that Davis was not the ultimate
 6   decisionmaker and that the Title IX investigation was not motivated by bias, run the risk
 7   of misleading the jury.” (Doc. 198 at 5-6.)
 8          The Court will not exclude Lake’s challenged opinions on the ground that they are
 9   unhelpful. This is mainly because these opinions (Doc. 164 at 9-10) respond to Nannetti’s
10   opinions that (1) the investigation into the sexual misconduct allegations levied against
11   Doe was unfair; and (2) that there were errors and flaws in the investigation. It is hard to
12   see why Lake’s attempt to question Nannetti’s conclusions would be “unhelpful” to a jury
13   that has already heard the underlying opinion. And Doe’s argument under Rule 403
14   presumes that Lake has nothing useful to offer the jury, which the Court has already
15   rejected.
16                 7.     Summary As To Lake
17          For the reasons discussed above, Doe’s request to categorically exclude Lake from
18   testifying is denied, but Lake must not (1) reference the legal requirements of Title IX or
19   opine on the application of those legal requirements to this case; or (2) opine that Nannetti
20   is biased in favor of Doe or otherwise opine directly on Nannetti’s credibility.
21          E.     Jason Borrelli
22                 1.     The Borrelli Report
23          Jason Borrelli is the head wrestling coach at American University and previously
24   held the same position at Stanford University. (Doc. 165-1 at 3.) Before becoming a coach,
25   Borrelli twice won the Michigan state high school wrestling championship, was a multi-
26   year starter on the Central Michigan University wrestling team, was part of five
27   consecutive team conference championships, won individual conference titles, and
28   qualified for the NCAA Championships.          (Id.) Under Borrelli’s tutelage, Borrelli’s


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 1   programs have won several conference championships, produced All-Americans, sent
 2   wrestlers to the NCAA Championships, and posted over 100 meet victories. (Id.) Borrelli
 3   has personally been recognized by a wrestling magazine as “Coach of the Year.” (Id.)
 4   Finally, while a coach, Borrelli has become “highly experienced in evaluating and
 5   recruiting potential college wrestlers” and has produced nationally ranked recruiting
 6   classes despite “Stanford’s high academic standards.” (Id. at 4.)
 7          Borrelli has not previously served as an expert witness, nor has he authored any
 8   publications in the last ten years. (Id.) His hourly rate for this engagement is $500. (Id.)
 9          Borrelli was asked to review the Owen Report and aspects of the Kaufman Report.
10   (Id. at 3.) He opined that (1) Doe’s expulsion from ASU delayed his ability to seek
11   employment by at most a few years; (2) the expulsion was not the cause of Doe’s inability
12   to find Division I coaching work because major accolades are not required to be a Division
13   I coach and, even if they were required, Doe was unlikely to achieve those accolades; and
14   (3) ABOR is not responsible for Doe’s wrestling injuries. (Id. at 7.)
15                 2.     The Parties’ Arguments
16          Although the Borrelli Report sets out several distinct opinions, Doe raises a single
17   issue in his motion to exclude: “Should Borrelli be permitted to opine as an expert on
18   college wrestling pay at Division I and II universities?” (Doc. 165 at 1.) Doe is clear that
19   the other opinions “will be addressed at trial and are not subject to this Motion.” (Id.)
20          Doe first argues that Borrelli’s opinions about pay are unreliable because they are
21   not based on sufficient facts or data: “Borrelli does not survey all ‘middle or lower-tier’
22   D1 schools, or even a random sample of such schools. Instead, he cites the salary for [five
23   exemplar assistant coaches]. He then uses this information to opine that salaries are
24   between $35,000 and 45,000 annually—numbers that do not appear in his anecdotal
25   survey—for entry level coaches.” (Id. at 3.) Second, Doe asserts that Borrelli’s opinions
26   about pay are irrelevant or confusing because publicly reported NCAA pay data contradicts
27   his opinion, his opinion is presented as a “reliable, statistically valid random sample that
28   properly expresses coaches’ pay” when it is not, and many of Borrelli’s parameters are


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 1   undefined. (Id. at 6-7.) Finally, Doe argues that Borrelli is not qualified to offer opinions
 2   on pay because, although he may be an expert on wrestling, he is not an expert on wrestling
 3   coach pay at all Division I and II schools. (Id. at 8.)
 4          ABOR responds that Borrelli is qualified to opine on “salaries attendant to the
 5   positions Doe is likely to achieve in his but-for and actual career scenarios” given his
 6   wrestling background and because he has been “entrenched” in collegiate wrestling for
 7   decades. (Doc. 185 at 7.) ABOR also argues that Borrelli’s opinions are reliable when
 8   understood as representations of Borrelli’s own experience and not objective surveys or
 9   comprehensive analyses of the market. (Id. at 9-13.) Finally, ABOR asserts that Borrelli’s
10   opinions are directly relevant, because they inform Doe’s economic losses, and not
11   confusing, because Borrelli makes the scope of his opinion clear. (Id. at 13-15.)
12          In reply, Doe reasserts that Borrelli is not qualified to offer opinions about salaries
13   at all Division I and Division II schools, that Borrelli’s testimony about salaries is
14   unreliable because his data is misleading and incomplete, and that Borrelli’s testimony will
15   only confuse the jury. (Doc. 197 at 1-6.)
16                 3.     Analysis
17          The Court denies Doe’s motion to exclude Borrelli’s opinions about his view of the
18   general salary range for college wrestling coaches, which he claims to have developed
19   throughout his lengthy and successful career, for the same reasons it denied ABOR’s
20   motion to exclude Owen’s opinion about his view of the general qualifications for college
21   wrestling coaches, which he claims to have developed throughout his lengthy and
22   successful career.
23          Borrelli is qualified to opine on this topic, his opinions are reliable enough to reach
24   the jury, and any issues with the accuracy of the “data” underlying Borrelli’s opinion may
25   be attacked on cross-examination. Borrelli has worked as a college wrestling coach for
26   more than 15 years and, before that, was a successful wrestler in his own right. Borrelli is
27   just as “enmeshed,” or as ABOR would put it, “entrenched,” in the wrestling world as
28   Owen. Borrelli does not seek to step outside his expertise in this opinion but asserts that


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 1   he has developed his own expertise in collegiate wrestling salary ranges through a lifetime
 2   of conversations, anecdotes, and experiences. And it is unsurprising that a longtime college
 3   wrestling coach, who has worked at multiple colleges, would have a refined sense of the
 4   national market and competitive salaries for collegiate wrestling coaches. Borrelli is
 5   absolutely clear that he seeks to provide only “his experience” and does not detour into an
 6   implication that he can testify about comprehensive statistics gathered through, for
 7   instance, a national survey.     Finally, testimony about Doe’s economic potential is
 8   manifestly relevant to Doe’s economic loss claim, and Doe does not cogently explain why
 9   it would not be.
10          “[T]he judge is supposed to screen the jury from unreliable nonsense opinions, but
11   not exclude opinions merely because they are impeachable.” Alaska Rent-A-Car, Inc., 738
12   F.3d at 969. Borrelli’s opinion on collegiate wrestling coach salaries is no more an
13   “unreliable nonsense opinion” than Owen’s opinion on collegiate wrestling coach
14   recruiting and hiring standards. Any concerns with the precise transferability of Borrelli’s
15   background, or the reliability and accuracy of the data he gathered to reach his conclusions,
16   can be explored on cross-examination.
17          F.     Dwight Duncan
18                 1.     The Duncan Report
19          Dwight Duncan is an economist with more than 25 years of experience involving
20   “economic consulting generally and the calculation of economic damages in commercial
21   disputes specifically.” (Doc. 165-1 at 139.) Duncan has provided expert testimony before
22   various courts and provides economic consulting and expert witness services to the Office
23   of the Arizona Attorney General. (Id.) Duncan’s billing rates range from $130 to $445
24   per hour. (Id. at 177.)
25          Duncan was asked to opine on the Kaufman report’s two areas of analysis: sanction
26   disparities and economic loss. (Id. at 140.) Broadly, Duncan found that Dr. Kaufman
27   “made a series of computational and reference errors in his tables, failed to account for
28   differences in the severity of violations of a given provision of the Student Code of


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 1   Conduct, and failed to consider when multiple violations were associated with a given
 2   sanction.” (Id.) Duncan also found that Dr. Kaufman’s career path assumptions were
 3   unsupported and unreliable and that Dr. Kaufman’s computation of economic damages
 4   suffer from critical analytic flaws. (Id.)
 5          Doe argues that “[i]f Borrelli’s opinions regarding [Division I and Division II] pay
 6   are excluded, Duncan’s findings based on that data must also be excluded.” (Doc. 165 at
 7   9.) Because the Court has denied Doe’s motion to exclude Borrelli’s opinions, and Doe is
 8   clear that his motion to exclude Duncan’s opinions depends on the outcome of the Borrelli
 9   motion, the Duncan motion is consequently also denied.
10          Accordingly,
11          IT IS ORDERED that:
12          1.     ABOR’s motion to exclude the opinions and testimony of Curtis Owen (Doc.
13   158) is granted in part and denied in part.
14          2.     ABOR’s motion to exclude the opinions and testimony of Dr. Lance
15   Kaufman (Doc. 159) is denied.
16          3.     ABOR’s motion to exclude the opinions and testimony of Cindi Nannetti
17   (Doc. 161) is granted in part and denied in part.
18          4.     Doe’s motion to exclude certain opinions and testimony of Peter F. Lake
19   (Doc. 164) is granted in part and denied in part.
20          5.     Doe’s motion to exclude certain opinions and testimony of Jason Borrelli and
21   Dwight Duncan (Doc. 165) is denied.
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